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 UNITED STATES DISTRICT COURT                               EASTERN DISTRICT OF TEXAS


  UNITED STATES OF AMERICA                         §
                                                   §
  versus                                           § CASE NO. 4:17-CR-00118
                                                   §
  HOWARD GREGG DIAMOND (1)                         §
                                                   §

       ORDER ADOPTING UNITED STATES MAGISTRATE JUDGE=S REPORT

        The court referred this matter to the United States Magistrate Judge Christine A. Nowak

 for the administration of a guilty plea under Rule 11 of the Federal Rules of Criminal Procedure.

 Judge Nowak conducted a hearing in the form and manner prescribed by Federal Rule of

 Criminal Procedure 11 and issued her Findings of Fact and Recommendation on the Defendant=s

 guilty plea. The magistrate judge recommended that the court accept Defendant=s guilty plea.

 She further recommended that the court finally adjudge Defendant guilty on Counts One and

 Nine of the Second Superseding Indictment.

        The parties have not objected to the magistrate judge=s findings. The court ORDERS that

 the Findings of Fact and Recommendation on Guilty Plea of United States Magistrate Judge

 Christine A. Nowak are ADOPTED.            The court accepts the Defendant=s plea but defers

 acceptance of the plea agreement and plea agreement addendum until after review of the

 presentence report. It is further ORDERED that in accordance with the Defendant=s guilty
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 plea and the magistrate judge=s findings and recommendation, the Defendant, Howard Gregg

 Diamond, is adjudged guilty of the charged offenses under Title 21 U.S.C. § 846 - Conspiracy

 to Possess with the Intent to Distribute and Dispense and Distributing and Dispensing of

 Controlled Substances and Title 18 U.S.C. § 1347 and 2 – Health Care Fraud and Aiding and

 Abetting.



Signed this date
Oct 17, 2018
